                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )    CASE NO. 3:15-00058
                                                 )    JUDGE SHARP
EDMOND HEATH                                     )



                                            ORDER



         Due to a calendar conflict, the sentencing set for November 13, 2015, is hereby reset for

Wednesday, November 25, 2015, at 10:30 a.m.

         It is so ORDERED.



                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




     Case 3:15-cr-00058      Document 62        Filed 11/12/15     Page 1 of 1 PageID #: 150
